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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                     Plaintiff,
 v.                                                Case No. 22-40055-TC &
                                                        22-40086-TC
 ROGER GOLUBSKI,

                     Defendant.



                MOTION TO MODIFY CONDITIONS OF RELEASE

      Pursuant to 18 U.S.C. 3142, Roger Golubski moves the Court to modify his

conditions of release to remove the requirement for home detention.

                              PROCEDURAL BACKGROUND

      On September 14, 2022, Roger Golubski was indicted in Case No. 22-40055

and arrested on the charges. Mr. Golubski was brought before this Court for an

initial appearance on September 15. A detention hearing was held on September

19. Following a proffer of facts and argument, the Court granted pretrial release

subject to conditions, including home detention.    The Court imposed the same

conditions of release in Case No. 22-40086 following Mr. Golubski’s indictment on

November 10, 2022.

      Since the Court’s original detention order, the government has produced

thousands of pages of discovery. Counsel has reviewed the discovery and believes

that the information contained therein justifies reconsideration of home detention

as a condition of pretrial release.




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                               FACTUAL BACKGROUND

      The charges filed in Case No. 22-40055 are premised entirely on allegations

that cropped up during Rose and Lamonte McIntyre’s widely publicized lawsuit

seeking a multi-million dollar judgment against Wyandotte County based on claims

that Mr. Golubski was a crooked cop engaged in sexual misconduct.            The FBI

learned of both S.K. and O.W. through the McIntyres’ attorney, Cheryl Pilate. The

timing and context of their allegations are incredibly suspicious.

      On April 1, 2019, retired KCK police officer Henry “Sonny” Callahan, who

held himself out as working with Ms. Pilate, visited O.W. and told her that he knew

a “real good lawyer” for her and that there was “millions of dollars in this thing.”

Callahan told her, “You need to talk to Cheryl so she can get you, you know to, you

know to set up um money for [your] children and grandkids.” Three days later,

Callahan told O.W.’s boyfriend that O.W. could get $200,000 or $300,000. One week

later, on April 11, 2019, O.W. met with FBI agents and alleged that Roger Golubski

had sexually assaulted her.

      S.K. first told the FBI that she was a victim of Roger Golubski on July 15,

2020, during a meeting hosted at Cheryl Pilate’s office. Ms. Pilate, who personally

informed the FBI about S.K., facilitated six meetings between S.K. and the FBI

between July 15, 2020, and December 16, 2020—each at Ms. Pilate’s office. S.K.’s

allegations include claims that, if true, could be corroborated, such as being taken to

the hospital from her middle school because she was hemorrhaging from a




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miscarriage after becoming pregnant with Roger’s child. To date, the prosecution

has not produced any evidence corroborating such claims.

      The charges filed in Case No. 22-40086 can also be traced to Mr. McIntyre’s

legal team. As Mr. McIntyre’s attorneys sought to identify the true perpetrator of

the crimes for which Mr. McIntyre had been convicted, they identified an individual

connected to drug dealer Cecil Brooks and pursued rumors that Mr. Golubski was

protecting Brooks. But, after years of investigation, the FBI found nothing more

than rumors. In fact, discovery reveals that each of Mr. Golubski’s co-defendants

spoke with agents regarding their alleged connections to Mr. Golubski and each of

Mr. Golubski’s co-defendants denied that Mr. Golubski participated in criminal

activity with them or in any of the criminal activity alleged to have occurred at the

Delavan Apartments. They denied Mr. Golubski’s participation in criminal activity

even as they admitted to witnessing and/or participating in criminal conduct

themselves.

                               THE 3142(G) FACTORS

(1)   The nature and circumstances of the offense charged.

      Counsel acknowledges that the charges are serious. But Mr. Golubski’s co-

defendants, who are accused of equally if not more egregious offenses than he, have

been released without a requirement of home detention. Mr. Robinson and Mr.

Roberson are accused of actively operating an underage sex-trafficking operation,

where they beat and threatened to beat girls who did not agree to provide sexual

services in exchange for shelter, drugs, or clothes. Mr. Roberson stands specifically




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accused of kidnapping and repeatedly raping, sodomizing, and threatening to kill a

particular juvenile.   Both Mr. Robinson and Mr. Roberson have been ordered

released pending trial. Neither is required to spend that time on home detention.

Neither has a location monitoring requirement.

      Circumstances of the alleged offenses also warrant consideration. All conduct

is alleged to have occurred well over two decades ago and under circumstances

dramatically different from today. The government and individual accusers claim

Mr. Golubski accomplished crimes by virtue of access and power granted through

his position as a KCKPD detective and captain. Mr. Golubski has not occupied that

position for more than twelve years.

(2)   The weight of the evidence against the person.

      Having reviewed all discovery produced to date, it appears that the charges

against Roger Golubski are entirely based on uncorroborated allegations.       The

allegations of decades’ old conduct were made in an environment primed for

collecting, encouraging, and promoting false accusations—during a media frenzy

depicting Mr. Golubski as the center of police corruption in KCK and the key

component to a winning habeas action and/or multi-million dollar settlement.

      Mr. Golubski’s accusers were handed to the FBI by an attorney pursuing a

money judgment that hinged on painting Mr. Golubski as a dirty copy whose

corruption was tied to sexual misconduct. This begs the question of whether their

allegations were raised twenty years ago or only after being approached by the

McIntyres’ representatives—individuals who secured Mr. McIntyre’s release from




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prison and who were seeking $100 million from Wyandotte County in civil

litigation.

       S.K. told FBI agents that, when she was 16 years old, she told her aunt what

Roger Goubski had done to her. She claimed that she went with her aunt to the

police station and her aunt reported it.       The prosecution has not produced any

evidence to support this claim. S.K. also told FBI agents that, after going to the

police station, her aunt did not believe her claims.

       O.W.’s boyfriend told FBI agents that O.W. told him an unnamed police

officer “took advantage of” her, but only identified Roger Golubski after his name

and image became prominent in the media as a result of the McIntyres’ cases. O.W.

did not report her claims to law enforcement until after the McIntyres filed their

multi-million dollar civil lawsuit and Mr. Callahan suggested she could get money if

she did.

       The evidence produced thus far consists of uncorroborated claims of decades-

old conduct made under circumstances where the accusers were overtly or implicitly

baited with potential financial gain.

(3)    The history and characteristics of the person.

       Mr. Golubski has no criminal history. He retired from the KCKPD in 2011.

Mr. Golubski has lived in the same town for the majority of his life. His only close

family lives nearby. He is not a traveler and does not possess a passport. He is

poses no risk of flight.




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       Mr. Golubski is almost seventy years old and requires regular medical

intervention.   He is an insulin-dependent diabetic, administering four insulin

injections daily.   He also has late stage kidney disease, such that he requires

dialysis three times per week. Any attempt to flee—and the resultant loss of this

medical care—would be deadly.

       Home detention is further jeopardizing his health.        Since Mr. Golubski

completed the cardiac rehabilitation services for his heart bypass surgery earlier

this year, confinement in his small home means disregarding his physician’s

direction to continue rehabilitation on his own with regular exercise.

(4)    The nature and seriousness of the danger to any person or the community
       that would be posed by the person’s release.

       At the September 19 detention hearing, defense counsel did not know that

the FBI had been conducting surveillance of Roger Golubski since at least January

of 2019 and continuing until his arrest. Surveillance was extensive, including a

constant video feed of his home and multiple agents following him on various days.

Surveillance did not reveal that Mr. Golubski was participating in any malevolent

or dangerous activity. To the contrary, it revealed that he lived an ordinary life as a

retiree.    As surveillance continued, reports regularly included the following

statement: “At present, he is not considered to be dangerous, although the

neighborhoods he frequented during his tenure as a police officer are considered

dangerous.”




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                                       CONCLUSION

      Roger attends court and meets with counsel as needed. He poses no danger

to the community. Home detention is an unnecessary condition of pretrial release

and should be removed.



                                         Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on December 21, 2022, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system, which will send notice of
electronic filing to all counsel of record.


                                         s/ Christopher M. Joseph
                                         Christopher M. Joseph




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